         Case 1:21-cv-00532-SAG Document 103 Filed 09/09/21 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



 BRYCE CARRASCO,

        Plaintiff,                                        Civil Action

                -against-                                 No. 21-532-SAG

 M&T BANK,

        Defendant.



Emergency Motion to reassign case if the Presiding Judge does not provide clear standards and
guidelines to the parties by the end of the day, because Plaintiff has been operating under the
assumption that the Federal Rules of Civil Procedure were binding on this Court, and is steadfast
in his belief that the Federal Rules of Civil Procedure, are binding on this Court. As well,
Plaintiff is steadfast in his belief that the Constitution of the United States of America is binding
on this Court, and if this Court contravenes the fundamental notions of fairness embodied in the
Constitution, then the Constitution will have been violated. To provide fair notice, Plaintiff will
be requesting recusal at the end of business if the Presiding Judge is unable to fulfill its
responsibilities to administer the laws of this country according to established principles, either
at common law or enumerated by statute. Arbitrary determinations represent one of the cardinal
trespasses on one’s ability to obtain justice before an impartial tribunal for redressable injuries
sustained and properly claimed and proven according to the Federal Rules of Civil Procedure and
the Federal Rules of Evidence, and the United States Code, all of which grounded in the core
principles embodied in the Constitution.

                                          *      *       *

I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 9, 2021. /s/Bryce Carrasco.

                                         Bryce Carrasco
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